Case 1:18-cv-00145-JMS-RT Document 260 Filed 05/01/20 Page 1 of 5 PageID.4056



                    UNITED STATES DISTRICT COURT
                         DISTRICT OF HAWAII

  UNITED STATES OF AMERICA,

              Plaintiff,

 v.

  SANDWICH ISLES COMMUNI-                            Civ. No. 18-145 JMS RT

  CATIONS, INC., et al.,

              Defendants.

                            WRIT OF EXECUTION
TO THE UNITED STATES MARSHAL, HIS DEPUTIES AND AGENTS:
      The United States District Court for the District of Hawaii entered judgment

against Defendant-Judgment Debtor, Sandwich Isles Communications, Inc.

(“Sandwich Isles”) on February 18, 2020 for $138,557,635.82. Defendant-

Judgment Debtor’s Federal employer identification number is xxx-xx-7771, and its

current address is 77-808 Kamehameha Highway, Mililani, HI 76789. The

outstanding judgment balance, exclusive of accruing post-judgment interest, is

$138,557,635.82.

      YOU ARE HEREBY COMMANDED, under 28 U.S.C.

§§ 3203(c)(2)(B)(ii)-(iii), to levy on property in which Sandwich Isles has a

substantial nonexempt interest (not to exceed property reasonably equivalent in

value to the aggregate amount of the judgment and costs), by entering the real


                                         1
Case 1:18-cv-00145-JMS-RT Document 260 Filed 05/01/20 Page 2 of 5 PageID.4057



property at 77-808 Kamehameha Highway, Mililani, HI 76789, and posting this

writ upon that real property in an open and obvious manner that is not conspicuous.

Further, the USMS is authorized to use reasonable force, if necessary, to enter the

real property at 77-808 Kamehameha Highway, Mililani, HI 76789, to levy this

writ by posting it on said property in the name of Sandwich Isles.

      This property (from herein “the Property””) includes:

       a) the relationships that Sandwich Isles has with its customers and suppliers,

      and the telecommunications network;

      b) equipment titled in the name of Sandwich Isles and not previously

      transferred to Michael Katzenstein, as chapter 11 trustee of Paniolo Cable

      Company, LLC, as a result of an execution sale on March 6, 2020,

      including: buildings functioning as cable landing stations, central offices or a

      network operations center; other infrastructure facilities, including conduits,

      manholes, handholes, and towers; and equipment, including copper and fiber

      optic and telecommunication cables, copper and fiber optic transmission,

      multiplexing, circuit switching, circuit transport equipment, IP routing and

      switching equipment, test equipment, power systems, cooling systems,

      security systems, network management systems, cross connects and cross




                                          2
Case 1:18-cv-00145-JMS-RT Document 260 Filed 05/01/20 Page 3 of 5 PageID.4058



      connect panels, including of the types, and at the locations more completely

      described in Attachment A;1 and

      c) all other supporting assets related to those things described in subsections

      (a) and (b), such as easements, rights of way, and other real property

      interests, licenses and other rights, vehicles, trailers and tools.


      You shall file a copy of the notice of levy in accordance with 28 U.S.C.

§ 3201 and serve a copy of the writ and notice levy on Sandwich Isles and the

person(s) having possession of the property subject to the writ. You shall endorse,

in the space provided below, the exact hour and date of receipt of this writ of

execution. You shall make a written record of every levy, specify the property on

which levy is made, the date on which levy is made, and the USMS costs,

expenses, and fees.

      YOU ARE FURTHER COMMANDED to await further order from the



1
 Attachment A is excerpted from documents numbered SIC0151983-SIC0015228
and produced by Sandwich Isles. The Court has held that by failing to respond
timely to the United States’ November 20, 2018 United States’ First Admissions
Request To Sandwich Isles, requests 1868-74, SIC has admitted that these
documents do not contain information subject to a non-disclosure agreement
between Sandwich Isles and the United States, and that Sandwich Isles does not
object to their use in discovery related to this Case, to the unsealed filing of the
documents with the Court, or to the introduction into evidence at any hearing or
trial in this Case. See Order Denying Sandwich Isles Communications, Inc.’s
Motion For Protective Order, ECF # 215.

                                           3
Case 1:18-cv-00145-JMS-RT Document 260 Filed 05/01/20 Page 4 of 5 PageID.4059



Court regarding the sale of the property if any further action is required by the

USMS.

                     1st
      Signed this ___________day           May
                                 of __________________________, 2020.




                                       /s/ Lian Abernathy, Clerk by: J.O., Deputy Clerk
                                       ____________________________________
                                       UNITED STATES DISTRICT CLERK
                                       DISTRICT OF HAWAII




                                          4
Case 1:18-cv-00145-JMS-RT Document 260 Filed 05/01/20 Page 5 of 5 PageID.4060



                                       RETURN
  DATE RECEIVED                              TIME RECEIVED




  DATE OF LEVY                               PROPERTY SEIZED
                                             PURSUANT TO LEVY




  DATE OF SALE                               FEES, COSTS & EXPENSES




  The writ was received and executed
  U.S. MARSHAL                               By: DEPUTY U.S. MARSHAL




                                         5
